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 5                            UNITED STATES DISTRICT COURT
 6                                    DISTRICT OF NEVADA
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     SERGEY MKHITARYAN,
 8                                                        Case No. 2:20-cv-02169-JAD-NJK
            Plaintiff(s),
 9                                                                      Order
     v.
10                                                                 [Docket No. 15]
     LAS VEGAS METROPOLITAN POLICE
11   DEPARTMENT, et al.,
12          Defendant(s).
13         Pending before the Court is Plaintiff’s motion to send orders to two addresses and motion
14 to extend time to file an amended complaint. Docket No. 15. The Court granted that relief in an
15 order issued on September 30, 2021. Docket No. 14. Accordingly, the duplicative motion that is
16 currently pending is DENIED as moot.
17         IT IS SO ORDERED.
18         Dated: October 1, 2021
19                                                            ______________________________
                                                              Nancy J. Koppe
20                                                            United States Magistrate Judge
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